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                                                                                                   E-FILED
                                                               Tuesday, 13 September, 2022 09:11:16 AM
                                                                            Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS
                              SPRINGFIELD, ILLINOIS

DANIEL CODY, as Administrator of the   )
Estate of JAIMESON CODY, deceased      )
and as next-of-kin.                    )
                                       )
                  Plaintiff,           )
                                       )
      v.                               )                    No. 3:22-cv-03065-SEM-KLM
                                       )
SANGAMON COUNTY; ANDREW VAN            )
METER, SANGAMON COUNTY CHAIRMAN; )
SANGAMON COUNTY SHERIFF’S              )
DEPARTMENT; JACK CAMPBELL, SHERIFF )
OF SANGAMON COUNTY; LARRY BECK,        )
JAIL SUPERINTENDENT; SGT. CODY         )
GRIGSBY, C.O.; KYLE MEYER, C.O.; SCOTT )
MEYER, C.O.; NICHOLAS ORTEGA, C.O.;    )
ADVANCED CORRECTIONAL HEALTHCARE; )
JOHN B. KLING, LPN; and OTHER UNKNOWN )
SANGAMON COUNTY EMPLOYEES and/or       )
AGENTS,                                )                    PLAINTIFF DEMANDS TRIAL
                                       )                         BY JURY
                  Defendants.          )

                          SECOND AMENDED COMPLAINT

       NOW COMES Plaintiff, DANIEL CODY, as Administrator of the Estate of JAIMESON
CODY, deceased and as next-of-kin, by and through his undersigned attorneys, and for this Second
Amended Complaint against Defendants SANGAMON COUNTY; ANDREW VAN METER,
SANGAMON COUNTY CHAIRMAN; SANGAMON COUNTY SHERIFF’S DEPARTMENT;
JACK CAMPBELL, SHERIFF OF SANGAMON COUNTY; LARRY BECK, JAIL
SUPERINTENDENT; SGT. CODY GRIGSBY, C.O.; KYLE MEYER, C.O.; SCOTT MEYER,
C.O.; NICHOLAS ORTEGA, C.O.; ADVANCED CORRECTIONAL HEALTHCARE; JOHN B.
KLING, LPN; and OTHER UNKNOWN SANGAMON COUNTY EMPLOYEES and/or
AGENTS, hereby states as follows:




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               PRELIMINARY STATEMENT AND NATURE OF CASE

        1.      Jaimeson Cody, a 39-year-old father of two and citizen of the United States of
America and the State of Illinois, was admitted as a pretrial detainee of the Sangamon County
Sheriff’s Department and its jail in Springfield, Illinois on April 27, 2021. Mr. Cody’s belongings
were confiscated at booking, his mental state started to rapidly deteriorate, and he was placed on
24-hour observation. Hours later, he was forcibly removed from his cell for a medical exam against
his will, he was then tackled, tasered, beaten and suffocated, deprived of emergency medical care,
treatment, or assistance of any kind. Mr. Cody died on April 28, 2021, on the concrete floor of the
Sangamon County Jail.

        2.      This suit arises from multiple violations of the civil rights of Jaimeson Cody, in
violation of Title 42 USC § 1983.

                                        JURISDICTION

      3.     This action is brought pursuant to 42 USC § 1983. Jurisdiction is based upon 28
USC § 1331, 1332 and 1367. Plaintiff demands a trial by jury.

                                             VENUE

        4.       The violations of civil rights alleged herein were committed within the Central
District of Illinois, to-wit: in the City of Springfield, County of Sangamon, State of Illinois. This
action properly lies in the United States District Court for the Central District of Illinois,
Springfield Division.

                                            PARTIES

        5.       Plaintiff, DANIEL CODY, is the decedent’s father and is the Court-appointed
Administrator of the Estate of JAIMESON CODY. He is a resident of the County of Sangamon,
State of Illinois. He brings this action on behalf of the Estate of JAIMESON CODY, for the benefit
of decedent’s beneficiaries and next-of-kin.

      6.     Decedent, Jaimeson Cody, was a U.S. Citizen and a resident of the County of
Sangamon, State of Illinois, as of the date of his death on April 28, 2021.

      7.    Defendant, SANGAMON COUNTY, (“Sangamon County”) is the local
government municipality for Sangamon County, Illinois.

        8.     Defendant, SANGAMON COUNTY SHERIFF’S DEPARTMENT, (“Sangamon
County Sheriff’s Department”) is a local governmental entity with offices in Sangamon County,
City of Springfield, Illinois.

        9.      Defendant, ANDREW VAN METER, SANGAMON COUNTY CHAIRMAN,
(“Chairman Van Meter”) was a resident of Sangamon County, Illinois at the time of the events
herein, and is sued in his individual and his official capacity as chairman of the Sangamon County


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Board wherein he is responsible for establishing and maintaining the policies, practices, customs,
and usages of Defendants Sangamon County and/or Sangamon County Sheriff’s Department.

        10.     Defendant, JACK CAMPBELL, SHERIFF OF SANGAMON COUNTY (“Sheriff
Campbell”), was a resident of Sangamon County, Illinois at the time of the events herein, and is
sued in his official capacity as Sheriff of Sangamon County, Illinois, wherein he is responsible for
establishing and maintaining the policies, practices, customs, and usages of Defendant Sangamon
County Sheriff’s Department.

       11.     Defendant, LARRY BECK, JAIL SUPERINTENDENT (“S.I. Beck”), was a
resident of Sangamon County, Illinois at the time of the events herein, and is sued in his official
capacity as Superintendent of the Sangamon County Jail, wherein he is responsible for establishing
and maintaining the policies, practices, customs, and usages of Defendants Sangamon County
and/or Sangamon County Sheriff’s Department, and its employees and agents within the
Sangamon County Jail.

        12.      Defendant, SGT. CODY GRIGSBY, C.O., (“Sgt. Grigsby”) was a resident of the
State of Illinois at the time of the events described herein and was employed, retained and/or
contracted by Defendants Sangamon County and/or Sangamon County Sheriff’s Department. He
is sued in his individual and official capacities, and as an agent of said Defendants.

         13.      Defendant, KYLE MEYER, C.O., (“C.O. K. Meyer”) was a resident of the State of
Illinois at the time of the events described herein and was employed, retained and/or contracted by
Defendants Sangamon County and/or Sangamon County Sheriff’s Department. He is sued in his
individual and official capacities, and as an agent of said Defendants.

         14.     Defendant, SCOTT MEYER, C.O., (“C.O. S. Meyer”) was a resident of the State
of Illinois at the time of the events described herein and was employed, retained and/or contracted
by Defendants Sangamon County and/or Sangamon County Sheriff’s Department. He is sued in
his individual and official capacities, and as an agent of said Defendants.

        15.      Defendant, NICHOLAS ORTEGA, C.O., (“C.O. Ortega”) was a resident of the
State of Illinois at the time of the events described herein and was employed, retained and/or
contracted by Defendants Sangamon County and/or Sangamon County Sheriff’s Department. He
is sued in his individual and official capacities, and as an agent of said Defendants.

         16.   Defendant, ADVANCED CORRECTIONAL HEALTHCARE, (“A.C.H.”) is an
Illinois Corporation with offices in the City of Springfield, Illinois who was employed, retained
and/or contracted by Defendants Sangamon County and/or Sangamon County Sheriff’s
Department to provide appropriate medical services, care, and treatment to pretrial detainees at the
Sangamon County Jail, including Jaimeson Cody.

        17.      Defendant, JOHN B. KLING, LPN, (“Nurse Kling”) was a resident of the State of
Illinois at the time of the events described herein, was employed, retained and/or contracted by
Defendants Sangamon County, Sangamon County Sheriff’s Department, and/or A.C.H., as a nurse




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to provide medical and nursing treatment to pretrial detainees at the Sangamon County Jail. He is
sued in his individual and official capacities, and as an agent of said Defendants.

        18.    Defendant, OTHER UNKNOWN SANGAMON COUNTY EMPLOYEES, and/or
AGENTS, (“Other Unknown Defendants”) are persons employed, retained and/or contracted by
the various Defendants and are sued in their individual and official capacities and as agents of the
various Defendants.

       19.      At all times relevant to the matters stated in this Complaint, Defendants Sangamon
County, Sangamon County Sheriff’s Department, and A.C.H. maintained a contractual partnership
whereby A.C.H. would provide healthcare and healthcare management services to individuals
detained at the Sangamon County Jail.

       20.     At all times relevant to the matters stated in this Complaint, all Defendants acted
under color of state law, and within the scope of their employment and/or agency.


                                   STATEMENT OF CLAIM

        21.    At all times relevant to the matters stated in this Complaint, there was in force and
effect the Constitution of the United States which provided in relevant part as follows:

         No State shall make or enforce any law which shall abridge the privileges or
         immunities of citizens of the United States; nor shall any State deprive any
         person of life, liberty, or property, without due process of law; nor deny to
         any person within its jurisdiction the equal protection of the laws.
                         – Constitution of the United States, Amendment X IV

        22.    At all times relevant to the matters stated in this Complaint, there was in force and
effect a federal law known as the Civil Rights Act of 1871 which provided in relevant part as
follows:

         Every person who, under color of any statute, ordinance, regulation, custom,
         or usage of any State . . . subjects, or causes to be subjected, any citizen of
         the United States . . . to the deprivation of any rights, privileges or immunities
         secured by the Constitution and laws, shall be liable to the party injured in an
         action at law, suit in equity, or other proper proceeding for redress. 42 U.S.C.
         §1983.


        23.     At all times relevant to the matters stated in this Complaint, there was in force and
effect certain statutes in the State of Illinois which provided in relevant part as follows:

         Sheriff custodian of courthouse and jail.
         He or she shall have the custody and care of the courthouse and jail of his or
         her county, except as is otherwise provided. 55 ILCS 5/3-6017.


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                                              ***
        The Sheriff of each county in this State shall be the warden of the jail of the
        county and have the custody of all prisoners in the jail, except when otherwise
        provided in the “County Department of Corrections Act”. The Sheriff may
        appoint a superintendent of the jail, and remove him at his pleasure, for whose
        conduct and training, he shall be responsible. The Sheriff shall also be
        responsible for the hiring and training of all personnel necessary to operate
        and maintain the jail. 730 ILCS 125/2 and 3.

                                              ***
        The Warden of the jail shall furnish necessary bedding, clothing, food and
        medical aid for all prisoners under his charge, and keep an accurate account
        of the same. 730 ILCS 125/17.

        24.  Jaimeson Cody was arrested in Divernon, Illinois, on April 27, 2021, at 01:21 by
Officer Thomas Hiatt of the Divernon (Illinois) Police Department.

       25.    At 01:26, Officer Hiatt began transporting Mr. Cody to the Sangamon County Jail.
During transport, Mr. Cody was confused why he was being arrested but made very little
conversation.

       26.    At 01:46, Mr. Cody was delivered to the Sangamon County Jail, and Officer Hiatt
placed Mr. Cody in the care, custody, charge, and control of the Sangamon County Jail.

       27.   At booking, Mr. Cody’s belongings were confiscated, and he was searched. Mr.
Cody was provided with a Sangamon County Jail inmate uniform and placed alone in Cell I-9 of
the Sangamon County Jail by Correctional Officer B. Ferro (“C.O. Ferro”).

        28.     Defendants were aware, or should have been aware, of Mr. Cody’s prior drug
history. Despite this knowledge, Mr. Cody was not seen or examined by any medical personnel at
the time of his booking.

        29.   After being placed alone in Cell I-9, Mr. Cody was observed by Defendants to be
shaky, sweating profusely, pacing around, confused, and displaying erratic behavior.

       30.    At or around 12:30, C.O. Ferro took Mr. Cody to the medical unit within the
Sangamon County Jail to be provided medical care and treatment. In the medical unit, Defendants
were advised of Mr. Cody’s symptoms and behavior, and Mr. Cody was given an assessment by
employees or agents of the Sangamon County Jail.

        31.    After being medically assessed by employees or agents of the Sangamon County
Jail, Mr. Cody was placed in cell I-1 of the Sangamon County Jail. Mr. Cody was designated in
the Sangamon County Jail Shift Activity Report as “H/R [HIGH RISK] MH [Mental Health]”. As
a result, Defendants placed Mr. Cody on required high risk mental health checks to be performed
every 15 minutes.



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       32.     Despite designating Mr. Cody to have high risk mental health issues, Mr. Cody was
not evaluated or checked upon every 15 minutes as dictated in the Shift Activity Report.

       33.    Despite his known history and obvious medical decline, no treatment of any kind
was provided to Mr. Cody by any Defendant.

      34.    Nurse Kling was working in the Sangamon County Jail and assigned to the unit
where Mr. Cody was confined.

        35.    Nurse Kling checked on Mr. Cody in his cell at or around 18:30 and 20:10 and
noted that Mr. Cody was up and moving around in his cell. These were the only two checks on Mr.
Cody by any medical professional between 12:30 and 23:45.

        36.    At or about 23:45, C.O. S. Meyer observed blood smeared in Mr. Cody’s cell and
on his clothing; that he had small cuts to his hands and wrist areas; and that Mr. Cody was covered
in sweat and mumbling to himself about S.W.A.T. and being shot in his head.

        37.    C.O. S. Meyer notified Sgt. Grigsby of his observations of Mr. Cody.

        38.    Sgt. Grigsby observed Mr. Cody and contacted Nurse Kling to come to Mr. Cody’s
cell.

       39.    Nurse Kling arrived at Mr. Cody’s cell and, through the closed door, observed blood
on Mr. Cody’s shirt and some on the wall of his cell.

       40.    C.O. S. Meyers, Sgt. Grigsby, and several other Defendants then opened the door
to Mr. Cody’s cell for Nurse Kling to examine Mr. Cody.

       41.     Nurse Kling observed that Mr. Cody seemed to be in a good mood, but that he did
not want to be examined by Nurse Kling. Mr. Cody told Nurse Kling that he was okay and to leave
him alone.

       42.    Despite Mr. Cody’s refusal for medical care at this time, C.O. S. Meyers, Sgt.
Grigsby, and several other Defendants then ordered Mr. Cody to come out of his cell to be
examined by Nurse Kling.

      43.     Mr. Cody became agitated when ordered to come out of his cell to be examined by
Nurse Kling, and Mr. Cody again refused medical care.

        44.    Mr. Cody made no attempt to flee.

        45.    Mr. Cody did not provoke any of the Defendants.

        46.    Despite his clear refusals for medical care, C.O. S. Meyers, Sgt. Grigsby, and
several other Defendants then entered Mr. Cody’s cell and began an altercation with Mr. Cody to




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forcibly remove him to be examined. During this altercation, the Defendants tasered Mr. Cody and
threw him down into the concrete jail floor.

      47.    After tasering and throwing him into the concrete jail floor, Defendants tasered Mr.
Cody again and placed him face down in a prone position.

       48.     After being tasered, thrown into the concrete jail floor, and placed face down in a
prone position, two or three of the defendants who are grossly obese correctional officers tackled
onto Mr. Cody and applied their entire body weight (estimated to be over 700 pounds) to Mr.
Cody’s neck, back and legs. Mr. Cody pleaded with Defendants that he could not breathe but his
pleas were ignored.

       49.     While Mr. Cody was face down on the concrete jail floor, after having been tasered
multiple times and with two or three grossly obese correctional officers and their entire body
weight on his neck, back and legs, while pleading that he could not breathe, Defendants ordered
Mr. Cody to put his arms behind his back. Mr. Cody was not able to put his arms behind his back,
at which point Defendants began tasering Mr. Cody again until he became motionless.

        50.    After Mr. Cody became motionless, his hands were placed in cuffs behind his back,
and the two or three grossly obese correctional officers climbed off his body. By this point, Mr.
Cody had been beneath their combined weigh for several minutes unable to breathe before, during,
and after being tasered.

       51.     After climbing off Mr. Cody’s body, Defendants began discussing how to get Mr.
Cody into a restraint chair, presumably to have the medical examination he had been refusing all
along. Mr. Cody remained motionless and face down in a prone position on the concrete jail floor
with his hands cuffed behind his back as this discussion took place.

        52.    After their discussion about a restraint chair, Defendants returned to Mr. Cody’s
body and observed that Mr. Cody’s ear lobe was purple in color and his cheek/face had discolored
with a blue/purple color.

        53.    Defendants shook Mr. Cody to get him to respond, with no success. They observed
that he was not breathing.

      54.     Defendants removed Mr. Cody’s cuffs and rolled him onto his back. Nurse Kling
came over to begin CPR. Nurse Kling did not feel any pulse but started CPR anyway. After
becoming fatigued, an unknown defendant correctional officer took over the CPR procedure. Mr.
Cody was never revived.

       55.     Several Defendants, including C.O. Ortega and S.I. Beck, were aware of but stood
by and watched the attack upon Mr. Cody occur, yet none did anything to intervene to prevent the
excessive and deadly force used which caused his suffocation and death, nor did any Defendant
attempt to provide appropriate medical care, treatment, or intervention for Mr. Cody while he was
being killed.




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      56.    An ambulance was called, and Mr. Cody was transported to Springfield Memorial
Medical Center where he was pronounced dead at 00:32 on April 28, 2021.

        57.   An autopsy was conducted on April 28, 2021, by forensic pathologist, Nathaniel
Patterson, M.D., who identified the following injuries to Mr. Cody:

             a.   Blunt force injuries of the head and neck;
             b.   Blunt force injuries of the trunk;
             c.   Various contusions of the head, scalp, neck, face, back and extremities;
             d.   Electrical weapon control wounds of the thighs;
             e.   Numerous other abrasions;
             f.   Erythema of the skin of the chest and upper abdomen; and
             g.   Self-inflicted, superficial abrasions to the left forearm and wrist.

       58.        Dr. Patterson concluded that Mr. Cody’s death was ultimately caused by restraint
asphyxia.

      59.     The investigation by Sangamon County Coroner, Jim Allmon, found Mr. Cody’s
manner of death to be a homicide.

        60.     A grainy, low-quality video was released to the public by Defendants Sangamon
County; Chairman Van Meter; Sangamon County Sheriff’s Department; Sheriff Campbell; and S.I.
Beck, after negative media and public outcry. This video did not show the altercation between Mr.
Cody and the various Defendants. Rather, it shows various Defendants at Mr. Cody’s cell door,
then skips to what appears to be Mr. Cody, motionless on the jail floor and at least one to two
officers on the floor by Mr. Cody. This video contained a critical 90-second gap during the time
the tasering, beating and suffocation that took place between Mr. Cody and the various Defendants.
The video also shows numerous other unknown defendants standing around, but none appearing
to assist Mr. Cody in any way.

      61.    Prior to April 27, 2021, each of the Defendants had actual or constructive
knowledge that:

             a. compressional force and tasers should not be used in combination with restraints
                that could restrict breathing;
             b. sitting on the neck or back of a person they are trying to restrain can lead to great
                bodily harm or death;
             c. tasers should not be used on individuals who are no threat of flight or immediate
                harm to others;
             d. since 2006, the U.S. Department of Justice, in conjunction with the Police
                Executive Research Forum (“PERF”) published standards for the use of Conducted
                Energy Devices (CED’s), which include the taser devices used on Mr. Cody, which
                direct that: “Following a CED activation, officers should use a restraint technique
                that does not impair respiration;
             e. since March 1, 2007, Taser International, which manufactured the taser devices
                used by Defendants on Mr. Cody, had published product warnings and updates to



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                law enforcement agencies for use of its taser devices, which warned: “Avoid
                torturous or other misuse,” and “. . . it is conceivable that the muscle contractions
                may impair a subject’s ability to breathe,” referring to the use of a taser device;
           f.   as far back as 2007, there have been other known violations of the constitutional
                rights of pretrial detainees in the Sangamon County Jail resulting in death by
                positional asphyxia;
           g.   there has been a clear and consistent pattern of abuses against pretrial detainees
                resulting in death by excessive/deadly compressional force or asphyxia within the
                Sangamon County Jail;
           h.   there has been a clear and consistent pattern of abuses against pretrial detainees
                resulting in death by excessive/deadly force using tasers within the Sangamon
                County Jail;
           i.   they support and/or tacitly approve of the indiscriminate use of tasers as, according
                to Sheriff Campbell, “we don’t feel you can fire (tasers) too much. You use a taser
                until the person complies with our order”;
           j.   their policies, practices, customs, and usages have been the moving force and/or
                causal link to multiple violations of constitutional rights of pretrial detainees in the
                Sangamon County Jail;
           k.   their widespread practices are approved by and reflective of the direct policy
                decisions of the various Defendants; and
           l.   they have not properly hired, educated, trained, implemented, enforced, or
                supervised training for their employees and/or agents to correct their known
                deficiencies, and this failure has been and is likely to cause further injury.

        62.      Defendants Chairman Van Meter, Sheriff Campbell, and S.I. Beck each have
specific, direct, and personal knowledge of prior constitutional violations against pretrial detainees
in the Sangamon County Jail that resulted in death of the pretrial detainee as a direct result of acts
or omissions of employees and/or agents of Sangamon County and the Sangamon County Jail.

       63.     Defendants were on notice that their policies, practices, customs, and usages had
caused a clear and persistent pattern of violating constitutional rights of pretrial detainees in the
Sangamon County Jail.

        64.    Despite their knowledge, the Defendants – particularly Chairman Van Meter,
Sheriff Campbell, and S.I. Beck – knowingly, deliberately, and recklessly approved and allowed
the continuation of those policies, practices, customs, and usages which directly and proximately
caused the death of Mr. Cody on April 28, 2021, in violation of Mr. Cody’s Constitutional rights.

        65.     Defendants, by their acts or omissions as set forth above, have ignored a history of
abuse, and were clearly on notice that the training in this area was constitutionally deficient and
likely to cause injury.

         66.    Despite their knowledge, the Defendants failed and/or refused to properly educate,
train, implement, enforce, and supervise their employees and/or agents, and by failing to do so, the
Defendants were deliberately indifferent and acting in reckless disregard to the obvious and known
risks of serious injury or death to pretrial detainees such as Mr. Cody.



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        67.    Defendants, by their acts or omissions as set forth above, showed deliberate
indifference and reckless disregard to Mr. Cody’s serious and known medical and mental health
condition. As the direct and proximate result thereof, Mr. Cody suffered excruciating pain and
suffering, and ultimately death, in violation of his Constitutional rights.

       68.     The acts or omissions of the Defendants as set forth above were conducted
purposefully, knowingly, and recklessly.

        69.    The acts or omissions of the Defendants as set forth above as set forth above were
objectively unreasonable under the circumstances.

        70.     Each of the Defendants, by their acts or omissions as set forth above, authorized,
participated in, and/or acquiesced in the violations of Mr. Cody’s Constitutional rights.

       71.     The Court has authority pursuant to 42 U.S.C. § 1983 to award appropriate actual,
consequential, compensatory, and punitive damages, and has authority under 42 U.S.C. § 1988 to
award attorney’s fees and costs to successful civil rights plaintiffs.


                                   CAUSES OF ACTION


                                     COUNT I.
                        USE OF EXCESSIVE/DEADLY FORCE
         Deprivation of Fourteenth Amendment Rights and 42 U.S.C. §1983 as to
SANGAMON COUNTY; ANDREW VAN METER, SANGAMON COUNTY CHAIRMAN;
SANGAMON COUNTY SHERIFF’S DEPARTMENT; JACK CAMPBELL, SHERIFF OF
   SANGAMON COUNTY; LARRY BECK, JAIL SUPERINTENDENT; SGT. CODY
 GRIGSBY, C.O.; KYLE MEYER, C.O.; SCOTT MEYER, C.O.; NICHOLAS ORTEGA,
 C.O.; and OTHER UNKNOWN SANGAMON COUNTY EMPLOYEES and/or AGENTS

       72.    Plaintiff re-alleges and incorporates by reference the allegations set forth in each
preceding paragraph as if fully set forth herein.

        73.   Each of the Defendants had a duty to refrain from using excessive or deadly force
against Mr. Cody.

        74.    Each of the Defendants had a duty to prevent others from using excessive or deadly
force against Mr. Cody.

       75.    Each of the Defendants were aware, or should have been aware, that force which is
harsh and cruel beyond the point of control and likely to cause death or great bodily harm is
excessive.




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      76.    Each of the Defendants knew, or reasonably should have known, that Mr. Cody was
becoming increasingly ill and suffering from a declining mental health state, but, despite this
knowledge, Defendants used excessive and/or deadly force upon Mr. Cody.

        77.    The force the Defendants used against Mr. Cody was harsh and cruel beyond the
point of control, likely to great bodily harm or death, and did, in fact, cause Mr. Cody’s death.

       78.    Each of the Defendants allowed their co-defendants to use excessive and/or deadly
force on Mr. Cody, and all failed to intervene to prevent Mr. Cody’s unnecessary physical abuse,
punishment, humiliation, suffering and/or death.

        79.    The conduct and actions of the Defendants, acting under color of law, were
objectively unreasonable, intentional, willful, malicious, and with a deliberate indifference and/or
reckless disregard to Mr. Cody’s health, and was designed to and did cause specific and serious
physical and emotional pain and suffering in violation of his constitutional rights as guaranteed
under 42 U.S.C. § 1983 and the Fourteenth Amendment to the United States Constitution.

        80.      Each of the Defendants knew Mr. Cody faced a substantial risk of harm and
disregarded that risk by failing to take reasonable measures to abate it. As a direct and proximate
result of the foregoing, Mr. Cody was subjected to great physical and emotional pain and suffering,
and ultimately death.

       WHEREFORE, the Plaintiff, DANIEL CODY, prays that Judgment is entered in favor of
the Plaintiff and against the Defendants, SANGAMON COUNTY; ANDREW VAN METER,
SANGAMON COUNTY CHAIRMAN; SANGAMON COUNTY SHERIFF’S DEPARTMENT;
JACK CAMPBELL, SHERIFF OF SANGAMON COUNTY; LARRY BECK, JAIL
SUPERINTENDENT; SGT. CODY GRIGSBY, C.O.; KYLE MEYER, C.O.; SCOTT MEYER,
C.O.; NICHOLAS ORTEGA, C.O.; and OTHER UNKNOWN SANGAMON COUNTY
EMPLOYEES and/or AGENTS, jointly and severally, for an amount in excess of $50,000,000 in
actual damages, compensatory damages, punitive damages, attorney’s fees and costs, and for any
other and further relief deemed just and proper.




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                                     COUNT II.
   FAILURE TO PROVIDE MEDICAL CARE/DELIBERATE INDIFFERENCE TO
                             SERIOUS MEDICAL NEEDS
         Deprivation of Fourteenth Amendment Rights and 42 U.S.C. §1983 as to
SANGAMON COUNTY; ANDREW VAN METER, SANGAMON COUNTY CHAIRMAN;
SANGAMON COUNTY SHERIFF’S DEPARTMENT; JACK CAMPBELL, SHERIFF OF
   SANGAMON COUNTY; LARRY BECK, JAIL SUPERINTENDENT; SGT. CODY
 GRIGSBY, C.O.; KYLE MEYER, C.O.; SCOTT MEYER, C.O.; NICHOLAS ORTEGA,
  C.O.; ADVANCED CORRECTIONAL HEALTHCARE; JOHN B. KLING, LPN; and
     OTHER UNKNOWN SANGAMON COUNTY EMPLOYEES and/or AGENTS

       81.    Plaintiff re-alleges and incorporates by reference the allegations set forth in each
preceding paragraph as if fully set forth herein.

       82.   Each of the Defendants had a duty to take reasonable measures in response to the
obvious medical and mental health needs and risks posed by Mr. Cody’s condition.

       83.     Each of the Defendants were aware that Mr. Cody’s condition was deteriorating yet
took no appropriate action to provide medical care or treatment for Mr. Cody, disregarding the
obvious risks to Mr. Cody’s health.

        84.    Each of the Defendants were aware that failing to provide and/or denying medical
care to Mr. Cody’s as he was being killed was likely to result in great bodily harm or death, and
yet took no appropriate action to provide appropriate medical care or treatment for Mr. Cody,
disregarding the obvious risks to Mr. Cody’s health.

        85.     The conduct and actions of the Defendants, acting under color of law, in failing to
provide and/or denying medical attention for Mr. Cody were objectively unreasonable, was done
intentionally, purposefully, knowingly, willfully, maliciously, with a deliberate indifference and/or
with a reckless disregard for his serious medical needs, and was designed to and did cause specific
and serious physical and emotional pain and suffering in violation of his constitutional rights as
guaranteed under 42 U.S.C. § 1983 and the Fourteenth Amendment to the United States
Constitution.

        86.      Each of the Defendants knew Mr. Cody faced a substantial risk of harm and
disregarded that risk by failing to take reasonable measures to abate it. As a direct and proximate
result of the foregoing, Mr. Cody was subjected to great physical and emotional pain and suffering,
and ultimately death.

       WHEREFORE, the Plaintiff, DANIEL CODY, prays that Judgment is entered in favor of
the Plaintiff and against the Defendants, SANGAMON COUNTY; ANDREW VAN METER,
SANGAMON COUNTY CHAIRMAN; SANGAMON COUNTY SHERIFF’S DEPARTMENT;
JACK CAMPBELL, SHERIFF OF SANGAMON COUNTY; LARRY BECK, JAIL
SUPERINTENDENT; SGT. CODY GRIGSBY, C.O.; KYLE MEYER, C.O.; SCOTT MEYER,



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C.O.; NICHOLAS ORTEGA, C.O.; ADVANCED CORRECTIONAL HEALTHCARE; JOHN B.
KLING, LPN; and OTHER UNKNOWN SANGAMON COUNTY EMPLOYEES and/or
AGENTS, jointly and severally, for an amount in excess of $50,000,000 in actual damages,
compensatory damages, punitive damages, attorney’s fees and costs, and for any other and further
relief deemed just and proper.



                                  COUNT III.
              MONELL CLAIM – USE OF EXCESSIVE/DEADLY FORCE
  42 U.S.C. §1983 as to SANGAMON COUNTY ANDREW VAN METER, SANGAMON
  COUNTY CHAIRMAN; SANGAMON COUNTY SHERIFF’S DEPARTMENT; JACK
     CAMPBELL, SHERIFF OF SANGAMON COUNTY; and LARRY BECK, JAIL
                              SUPERINTENDENT

       87.    Plaintiff re-alleges and incorporates by reference the allegations set forth in each
preceding paragraph as if fully set forth herein.

        88.   At all times relevant to this Complaint, Sangamon County and Sangamon County
Sheriff’s Department, acting through its employees and/or agents, including the other various
Defendants, maintained policies, practices, customs and usages for their employees and/or agents:

           a. permitting complete discretion to interpret any written policies for themselves
              without limitation or further direction, concerning the use of excessive and/or
              deadly force;
           b. encouraging the indiscriminate use of tasers whenever they individually choose,
              even to punish or torture, and even where there was no threat of flight or immediate
              harm to others;
           c. encouraging the use of restraint techniques that restrict breathing, in combination
              with the use of a taser;
           d. encouraging the use of restraint techniques that restrict breathing upon pretrial
              detainees who have already been tasered;
           e. encouraging officers to sit on the neck or back of a person they are trying to restrain;
           f. discouraging the use of reasonable force and non-lethal control tactics when dealing
              with mentally ill pretrial detainees of the Sangamon County Jail;
           g. discouraging intervention or providing of aid to pretrial detainees being subjected
              to excessive and/or deadly force by officers of the Sangamon County Jail;
           h. encouraging individuals to “look the other way” while pretrial detainees are being
              subjected to excessive and/or deadly force by officers of the Sangamon County Jail;
              and
           i. which refuse to properly train, monitor, supervise, or ensure staff and/or agents
              utilize proper protocol and procedures concerning the use of tasers and control
              tactics, hands-on force, and compressional force on pretrial detainees.




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       89.    The above-described described policies, practices, customs, and usages of
Sangamon County and Sangamon County Sheriff’s Department were established, maintained,
encouraged, engrained, and sanctioned by Chairman Van Meter, Sheriff Campbell, and S.I. Beck.

        90.      The above-described policies, practices, customs, and usages of Sangamon County
and Sangamon County Sheriff’s Department were widespread and the moving force behind
Plaintiffs injuries.

        91.     The conduct of the Defendants as set forth herein was a direct and foreseeable
consequence of the policies, practices, customs, and usages of Sangamon County and Sangamon
County Sheriff’s Department and were a direct cause of the violations of Mr. Cody’s constitutional
rights. As such, said Defendants are liable for the damages suffered because of the conduct of their
employees and/or agents.

        92.   As a result of the above-described policies, practices, customs and usages, the
Defendants believed that their actions and/or inaction would not be properly monitored by
supervisory personnel, and that such misconduct would not be investigated or sanctioned, but
rather would be tolerated and encouraged.

       93.     The wrongful policies, practices, customs, and usages complained of herein
demonstrate a deliberate indifference by the Defendants as to the constitutional rights of pretrial
detainees in the Sangamon County Jail and were the direct and proximate cause of the violations
of Mr. Cody’s constitutional rights.

       WHEREFORE, the Plaintiff, DANIEL CODY, prays that Judgment is entered in favor of
the Plaintiff and against the Defendants SANGAMON COUNTY ANDREW VAN METER,
SANGAMON COUNTY CHAIRMAN; SANGAMON COUNTY SHERIFF’S DEPARTMENT;
JACK CAMPBELL, SHERIFF OF SANGAMON COUNTY; and LARRY BECK, JAIL
SUPERINTENDENT, jointly and severally, for an amount in excess of $50,000,000 in actual
damages, compensatory damages, punitive damages, attorney’s fees and costs, and for any other
and further relief deemed just and proper.




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                                  COUNT IV.
    MONELL CLAIM – FAILURE TO PROVIDE MEDICAL CARE/DELIBERATE
                   INDIFFERENCE TO SERIOUS MEDICAL NEEDS
  42 U.S.C. §1983 as to SANGAMON COUNTY ANDREW VAN METER, SANGAMON
  COUNTY CHAIRMAN; SANGAMON COUNTY SHERIFF’S DEPARTMENT; JACK
       CAMPBELL, SHERIFF OF SANGAMON COUNTY; LARRY BECK, JAIL
      SUPERINTENDENT; and ADVANCED CORRECTIONAL HEALTHCARE

       94.    Plaintiff re-alleges and incorporates by reference the allegations set forth in each
preceding paragraph as if fully set forth herein.

        95.    At all times relevant to this Complaint, Sangamon County, Sangamon County
Sheriff’s Department, and A.C.H., each acting through its employees and/or agents including the
other various Defendants, had policies, practices, customs and usages for their employees and/or
agents:

           a. encouraging them to confine pretrial detainees in a manner that intentionally
              ignores the obvious signs of medical distress of pretrial detainees in the Sangamon
              County Jail;
           b. permitting the medical staff complete discretion to provide medical and mental
              health services to pretrial detainees in the Sangamon County Jail without sufficient
              supervision and training;
           c. permitting the medical staff complete discretion in determining whether or not to
              provide health and mental care services, including but not limited to, the
              administration of medication to pretrial detainees;
           d. relying on federal law (HIPAA) erroneously as an excuse for not providing
              pertinent medical and/or mental health information regarding the health of pretrial
              detainees;
           e. encouraging those who witness other employees and/or agents causing respiratory
              distress, failure and ultimate death to pretrial detainees, of not verbally advising
              said persons that their actions were causing respiratory distress, failure, and
              possible ultimate death;
           f. discouraging them from providing necessary medical care or treatment to pretrial
              detainees who are in medical distress while in the custody of the Sangamon County
              Jail; and
           g. which refuse to properly train, monitor, supervise, or ensure staff and/or agents
              utilize proper protocol and procedures concerning pretrial detainees who are in
              medical distress while in the custody of the Sangamon County Jail.

        96.    The above-described described policies, practices, customs, and usages of
Sangamon County, Sangamon County Sheriff’s Department, and A.C.H., were established,
maintained, encouraged, engrained, and sanctioned by Chairman Van Meter, Sheriff Campbell,
and S.I. Beck.




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       97.     The above-described policies, practices, customs, and usages of Sangamon County
and Sangamon County Sheriff’s Department, and A.C.H., were widespread and the moving force
behind Plaintiffs injuries.

        98.     The above-described policies, practices, customs, and usages of Sangamon County
and Sangamon County Sheriff’s Department, and A.C.H., were, themselves, deliberately
indifferent to the medical and mental health needs of pretrial detainees such as Mr. Cody.

        99.     The conduct of the Defendants as set forth herein was a direct and foreseeable
consequence of the policies, practices, customs, and usages of Sangamon County, Sangamon
County Sheriff’s Department, and A.C.H., and were a direct cause of the violations of Mr. Cody’s
constitutional rights. As such, said Defendants are liable for the damages suffered because of the
conduct of their employees and/or agents.

        100. As a result of the above-described policies, practices, customs, and usages,
Sangamon County, Sangamon County Sheriff’s Department, A.C.H., Chairman Van Meter, Sheriff
Campbell, and S.I. Beck, each placed pretrial detainees such as Mr. Cody at a substantial risk of
suffering serious harm.

         101. Sangamon County, Sangamon County Sheriff’s Department, A.C.H., Chairman
Van Meter, Sheriff Campbell, and S.I. Beck, knew pretrial detainees such as Mr. Cody faced a
substantial risk of harm and disregarded that risk by failing to take reasonable measures to abate
it. As a direct and proximate result of the foregoing, Mr. Cody was subjected to great physical and
emotional pain and suffering, and ultimately death.

       102. As a result of the above-described policies, practices, customs and usages,
Sangamon County, Sangamon County Sheriff’s Department, A.C.H., Chairman Van Meter, Sheriff
Campbell, and S.I. Beck, each believed that their actions and/or inaction would not be properly
monitored by supervisory personnel, and that such misconduct would not be investigated or
sanctioned, but rather would be tolerated and encouraged.

        103. The wrongful policies, practices, customs, and usages complained of herein
demonstrate a deliberate indifference by Sangamon County, Sangamon County Sheriff’s
Department, A.C.H., Chairman Van Meter, Sheriff Campbell, and S.I. Beck as to the constitutional
rights of pretrial detainees in the Sangamon County Jail and were the direct and proximate cause
of the violations of Mr. Cody’s constitutional rights as set forth herein.

       WHEREFORE, the Plaintiff, DANIEL CODY, prays that Judgment is entered in favor of
the Plaintiff and against the Defendants, SANGAMON COUNTY ANDREW VAN METER,
SANGAMON COUNTY CHAIRMAN; SANGAMON COUNTY SHERIFF’S DEPARTMENT;
JACK CAMPBELL, SHERIFF OF SANGAMON COUNTY; LARRY BECK, JAIL
SUPERINTENDENT, and A.C.H., jointly and severally, for an amount in excess of $50,000,000




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in actual damages, compensatory damages, punitive damages, attorney’s fees and costs, and for
any other and further relief deemed just and proper.




                                     COUNT V.
                               FAILURE TO INTERVENE
    42 U.S.C. §1983 as to SGT. CODY GRIGSBY, C.O.; KYLE MEYER, C.O.; SCOTT
    MEYER, C.O.; NICHOLAS ORTEGA, C.O.; JOHN B. KLING, LPN; and OTHER
          UNKNOWN SANGAMON COUNTY EMPLOYEES, and/or AGENTS

       104. Plaintiff re-alleges and incorporates by reference the allegations set forth in each
preceding paragraph as if fully set forth herein.

       105. Defendants Sgt. Grigsby, C.O. K. Meyer, C.O. S. Meyer, C.O. Ortega, Nurse Kling,
and Other Unknown Defendants had reason to know that excessive force was being used upon Mr.
Cody.

        106. As a proximate result of one or more of the foregoing acts or omissions, Defendants
Sgt. Grigsby, C.O. K. Meyer, C.O. S. Meyer, C.O. Ortega, Nurse Kling, and Other Unknown
Defendants failed to take reasonable steps to attempt to intervene, stop, prevent, caution against,
or discourage the unlawful force used upon Mr. Cody as described herein.

      107. The acts and conduct of said Defendants were intentional, reckless, and
unwarranted, without any just cause or provocation.

       108. At all times relevant to this Complaint, said Defendants acted in the course and
scope of their employment with the other various Defendants.

       109. As a direct and proximate result of the foregoing, Mr. Cody was subjected to great
physical and emotional pain and humiliation, was deprived of his liberty and was otherwise
damaged, injured and killed.

       WHEREFORE, the Plaintiff, DANIEL CODY, prays that Judgment is entered in favor of
the Plaintiff and against the Defendants, SGT. CODY GRIGSBY, C.O.; KYLE MEYER, C.O.;
SCOTT MEYER, C.O.; NICHOLAS ORTEGA, C.O.; JOHN B. KLING, LPN; and OTHER
UNKNOWN SANGAMON COUNTY EMPLOYEES, and/or AGENTS, jointly and severally, for
an amount in excess of $50,000,000 in actual damages, compensatory damages, punitive damages,
attorney’s fees and costs, and for any other and further relief deemed just and proper.




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                                   COUNT VI.
                         NEGLIGENT HIRING and RETENTION
  42 U.S.C. §1983 as to SANGAMON COUNTY; ANDREW VAN METER, SANGAMON
  COUNTY CHAIRMAN; SANGAMON COUNTY SHERIFF’S DEPARTMENT; JACK
     CAMPBELL, SHERIFF OF SANGAMON COUNTY; and LARRY BECK, JAIL
                                SUPERINTENDENT

       110. Plaintiff re-alleges and incorporates by reference the allegations set forth in each
preceding paragraph as if fully set forth herein.

        111. Defendants Sangamon County, Sangamon County Sheriff’s Department, Chairman
Van Meter, Sheriff Campbell, and S.I. Beck, each had a duty to properly hire and/or retain
employees who could perform their duties without resorting to use of excessive force against
pretrial detainees such as Mr. Cody.

       112. Chairman Van Meter, Sheriff Campbell, S.I. Beck were the persons vested with
primary authority and responsibility regarding hiring and retention of employees and agents of
Sangamon County and Sangamon County Sheriff’s Department.

       113. Defendants Sangamon County, Sangamon County Sheriff’s Department, Chairman
Van Meter, Sheriff Campbell, and S.I. Beck negligently hired and retained its staff, and others,
including the other various Defendants in the following ways:

           a. Hiring and retaining correctional officers who were morbidly obese and physically
              unable to perform their duties in a reasonably safe manner;
           b. Hiring and retaining correctional officers who would use their obesity and weight
              as a weapon and for punishment against pretrial detainees;
           c. Hiring and retaining correctional officers who would use taser devices as a weapon
              and for punishment against pretrial detainees;
           d. Hiring and retaining correctional officers who would use their obesity, weight and
              taser devices in combination as a weapon and for punishment against pretrial
              detainees;
           e. Hiring and retaining correctional officers who are deliberately indifferent to the
              reasonable medical and mental health needs of pretrial detainees such as Mr. Cody;
              and
           f. Hiring and retaining correctional officers who would refuse to intervene to prevent
              the constitutional violations against pretrial detainees caused by other employees;

       114. Sangamon County, Sangamon County Sheriff’s Department, Chairman Van Meter,
Sheriff Campbell, and S.I. Beck each knew about these hiring and retention practices, but
deliberately facilitated, condoned, and/or turned a blind eye to the same.

        115. The unlawful of excessive force against pretrial detainees such as Mr. Cody as
described herein was a plainly obvious consequence of Defendants deliberate hiring and retention
practices.




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      116. Defendants deliberate conduct regarding their hiring and retention practices were
the moving force behind, and the direct and proximate cause of, Mr. Cody’s injuries and death.

       117. At all times relevant to this Complaint, said Defendants acted in the course and
scope of their employment with the other various Defendants.

       118. As a direct and proximate result of the foregoing, Mr. Cody was subjected to great
physical and emotional pain and humiliation, was deprived of his liberty and was otherwise
damaged, injured and killed.

       WHEREFORE, the Plaintiff, DANIEL CODY, prays that Judgment is entered in favor of
the Plaintiff and against the Defendants, SANGAMON COUNTY; ANDREW VAN METER,
SANGAMON COUNTY CHAIRMAN; SANGAMON COUNTY SHERIFF’S DEPARTMENT;
JACK CAMPBELL, SHERIFF OF SANGAMON COUNTY; and LARRY BECK, JAIL
SUPERINTENDENT, jointly and severally, for an amount in excess of $50,000,000 in actual
damages, compensatory damages, punitive damages, attorney’s fees and costs, and for any other
and further relief deemed just and proper.



                                  COUNT VII.
                      NEGLIGENT SUPERVISION and TRAINING
  42 U.S.C. §1983 as to SANGAMON COUNTY; ANDREW VAN METER, SANGAMON
  COUNTY CHAIRMAN; SANGAMON COUNTY SHERIFF’S DEPARTMENT; JACK
     CAMPBELL, SHERIFF OF SANGAMON COUNTY; and LARRY BECK, JAIL
                               SUPERINTENDENT

       119. Plaintiff re-alleges and incorporates by reference the allegations set forth in each
preceding paragraph as if fully set forth herein.

        120. Defendants Sangamon County, Sangamon County Sheriff’s Department, Chairman
Van Meter, Sheriff Campbell, S.I. Beck, and A.C.H., had a duty to properly supervise and train
their employees and agents concerning constitutional rights of pretrial detainees such as Jaimeson
Cody.

       121. Chairman Van Meter, Sheriff Campbell, S.I. Beck were the persons vested with
primary authority and responsibility regarding supervision and training of employees and agents
of Sangamon County and Sangamon County Sheriff’s Department.

       122. Defendants Sangamon County, Sangamon County Sheriff’s Department, Chairman
Van Meter, Sheriff Campbell, S.I. Beck, and A.C.H., negligently supervised and trained its staff,
and others, including the other various Defendants.




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      123. The acts, conduct and/or omissions of said Defendants were the direct and
proximate result of Mr. Cody’s injuries and death.

       WHEREFORE, the Plaintiff, DANIEL CODY, prays that Judgment is entered in favor of
the Plaintiff and against the Defendants, SANGAMON COUNTY; ANDREW VAN METER,
SANGAMON COUNTY CHAIRMAN; SANGAMON COUNTY SHERIFF’S DEPARTMENT;
JACK CAMPBELL, SHERIFF OF SANGAMON COUNTY; and LARRY BECK, JAIL
SUPERINTENDENT, jointly and severally, for an amount in excess of $50,000,000 in actual
damages, compensatory damages, punitive damages, attorney’s fees and costs, and for any other
and further relief deemed just and proper.



                              COUNT VIII.
           ILLINOIS CLAIM – USE OF EXCESSIVE/DEADLY FORCE
 as to LARRY BECK, JAIL SUPERINTENDENT; SGT. CODY GRIGSBY, C.O.; KYLE
   MEYER, C.O.; SCOTT MEYER, C.O.; NICHOLAS ORTEGA, C.O.; and OTHER
         UNKNOWN SANGAMON COUNTY EMPLOYEES, and/or AGENTS

       124. Plaintiff re-alleges and incorporates by reference the allegations set forth in each
preceding paragraph as if fully set forth herein.

       125. Each of the Defendants, including S.I. Beck, Sgt. Grigsby, C.O. K. Meyer, C.O. S.
Meyer, C.O. Ortega, and Other Unknown Defendants had a duty to refrain from using excessive
or deadly force against Mr. Cody.

       126. Each of the said Defendants had a duty to take prevent others from using excessive
or deadly force against Mr. Cody.

        127. Each of the said Defendants were aware, or should have been aware, that force
which is harsh and cruel beyond the point of control and likely to cause death or great bodily harm
is excessive.

       128. Each of the said Defendants knew, or reasonably should have known, that Mr. Cody
was becoming increasingly ill and suffering from a declining mental health state, but, despite this
knowledge, Defendants used excessive and/or deadly force upon Mr. Cody.

       129. The force that said Defendants used against Mr. Cody was harsh and cruel beyond
the point of control, likely to great bodily harm or death, and did, in fact, cause Mr. Cody’s death.

       130. Each of the said Defendants allowed their co-defendants to use excessive and/or
deadly force on Mr. Cody, and all failed to intervene to prevent Mr. Cody’s unnecessary physical
abuse, punishment, humiliation, suffering and/or death.



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        131. The conduct and actions of the said Defendants, acting under color of law, were
objectively unreasonable, intentional, willful, malicious, and with a deliberate indifference and/or
reckless disregard to Mr. Cody’s health, and was designed to and did cause specific and serious
physical and emotional pain and suffering in violation of his rights under the constitution and laws
of the State of Illinois.

        132. Each of the said Defendants knew Mr. Cody faced a substantial risk of harm and
disregarded that risk by failing to take reasonable measures to abate it. As a direct and proximate
result of the foregoing, Mr. Cody was subjected to great physical and emotional pain and suffering,
and ultimately death.

          WHEREFORE, the Plaintiff, DANIEL CODY, prays that Judgment is entered in favor of
the Plaintiff and against the Defendants, LARRY BECK, JAIL SUPERINTENDENT; SGT. CODY
GRIGSBY, C.O.; KYLE MEYER, C.O.; SCOTT MEYER, C.O.; NICHOLAS ORTEGA, C.O.;
and OTHER UNKNOWN SANGAMON COUNTY EMPLOYEES, and/or AGENTS, jointly and
severally, for an amount in excess of $50,000,000 in actual damages, compensatory damages,
punitive damages, attorney’s fees and costs, and for any other and further relief deemed just and
proper.


                                  COUNT IX.
                  ILLINOIS CLAIM – FAILURE TO INTERVENE
    as to SGT. CODY GRIGSBY, C.O.; KYLE MEYER, C.O.; SCOTT MEYER, C.O.;
     NICHOLAS ORTEGA, C.O.; JOHN B. KLING, LPN; and OTHER UNKNOWN
                SANGAMON COUNTY EMPLOYEES, and/or AGENTS

       133. Plaintiff re-alleges and incorporates by reference the allegations set forth in each
preceding paragraph as if fully set forth herein.

       134. Defendants Sgt. Grigsby, C.O. K. Meyer, C.O. S. Meyer, C.O. Ortega, Nurse Kling,
and Other Unknown Defendants had reason to know that excessive force was being used upon Mr.
Cody.

        135. As a proximate result of one or more of the foregoing acts or omissions, Defendants
Sgt. Grigsby, C.O. K. Meyer, C.O. S. Meyer, C.O. Ortega, Nurse Kling, and Other Unknown
Defendants failed to take reasonable steps to attempt to intervene, stop, prevent, caution against,
or discourage the unlawful force used upon Mr. Cody as described herein.

      136. The acts and conduct of said Defendants were intentional, reckless, and
unwarranted, without any just cause or provocation.

       137. At all times relevant to this Complaint, said Defendants acted in the course and
scope of their employment with the other various Defendants.



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       138. As a direct and proximate result of the foregoing, Mr. Cody was subjected to great
physical and emotional pain and humiliation, was deprived of his liberty and was otherwise
damaged, injured and killed.

       WHEREFORE, the Plaintiff, DANIEL CODY, prays that Judgment is entered in favor of
the Plaintiff and against the Defendants, SGT. CODY GRIGSBY, C.O.; KYLE MEYER, C.O.;
SCOTT MEYER, C.O.; NICHOLAS ORTEGA, C.O.; JOHN B. KLING, LPN; and OTHER
UNKNOWN SANGAMON COUNTY EMPLOYEES, and/or AGENTS, jointly and severally, for
an amount in excess of $50,000,000 in actual damages, compensatory damages, punitive damages,
attorney’s fees and costs, and for any other and further relief deemed just and proper.




                               COUNT X.
           ILLINOIS CLAIM – NEGLIGENT HIRING and RETENTION
   as to SANGAMON COUNTY; ANDREW VAN METER, SANGAMON COUNTY
CHAIRMAN; SANGAMON COUNTY SHERIFF’S DEPARTMENT; JACK CAMPBELL,
 SHERIFF OF SANGAMON COUNTY; and LARRY BECK, JAIL SUPERINTENDENT

       139. Plaintiff re-alleges and incorporates by reference the allegations set forth in each
preceding paragraph as if fully set forth herein.

        140. Defendants Sangamon County, Sangamon County Sheriff’s Department, Chairman
Van Meter, Sheriff Campbell, and S.I. Beck, each had a duty to properly hire and/or retain
employees who could perform their duties without resorting to use of excessive force against
pretrial detainees such as Mr. Cody.

       141. Chairman Van Meter, Sheriff Campbell, S.I. Beck were the persons vested with
primary authority and responsibility regarding hiring and retention of employees and agents of
Sangamon County and Sangamon County Sheriff’s Department.

       142. Defendants Sangamon County, Sangamon County Sheriff’s Department, Chairman
Van Meter, Sheriff Campbell, and S.I. Beck negligently hired and retained its staff, and others,
including the other various Defendants in the following ways:

           a. Hiring and retaining correctional officers who were morbidly obese and physically
              unable to perform their duties in a reasonably safe manner;
           b. Hiring and retaining correctional officers who would use their obesity and weight
              as a weapon and for punishment against pretrial detainees;
           c. Hiring and retaining correctional officers who would use taser devices as a weapon
              and for punishment against pretrial detainees;




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           d. Hiring and retaining correctional officers who would use their obesity, weight and
              taser devices in combination as a weapon and for punishment against pretrial
              detainees;
           e. Hiring and retaining correctional officers who are deliberately indifferent to the
              reasonable medical and mental health needs of pretrial detainees such as Mr. Cody;
              and
           f. Hiring and retaining correctional officers who would refuse to intervene to prevent
              the constitutional violations against pretrial detainees caused by other employees;

       143. Sangamon County, Sangamon County Sheriff’s Department, Chairman Van Meter,
Sheriff Campbell, and S.I. Beck each knew about these hiring and retention practices, but
deliberately facilitated, condoned, and/or turned a blind eye to the same.

        144. The unlawful of excessive force against pretrial detainees such as Mr. Cody as
described herein was a plainly obvious consequence of Defendants deliberate hiring and retention
practices.

      145. Defendants deliberate conduct regarding their hiring and retention practices were
the moving force behind, and the direct and proximate cause of, Mr. Cody’s injuries and death.

       146. At all times relevant to this Complaint, said Defendants acted in the course and
scope of their employment with the other various Defendants.

       147. As a direct and proximate result of the foregoing, Mr. Cody was subjected to great
physical and emotional pain and humiliation, was deprived of his liberty and was otherwise
damaged, injured and killed.

       WHEREFORE, the Plaintiff, DANIEL CODY, prays that Judgment is entered in favor of
the Plaintiff and against the Defendants SANGAMON COUNTY; ANDREW VAN METER,
SANGAMON COUNTY CHAIRMAN; SANGAMON COUNTY SHERIFF’S DEPARTMENT;
JACK CAMPBELL, SHERIFF OF SANGAMON COUNTY; and LARRY BECK, JAIL
SUPERINTENDENT, jointly and severally, for an amount in excess of $50,000,000 in actual
damages, compensatory damages, punitive damages, attorney’s fees and costs, and for any other
and further relief deemed just and proper.




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                               COUNT XI.
          ILLINOIS CLAIM – NEGLIGENT SUPERVISION and TRAINING
   as to SANGAMON COUNTY; ANDREW VAN METER, SANGAMON COUNTY
CHAIRMAN; SANGAMON COUNTY SHERIFF’S DEPARTMENT; JACK CAMPBELL,
 SHERIFF OF SANGAMON COUNTY; and LARRY BECK, JAIL SUPERINTENDENT

       148. Plaintiff re-alleges and incorporates by reference the allegations set forth in each
preceding paragraph as if fully set forth herein.

        149. Defendants Sangamon County, Sangamon County Sheriff’s Department, Chairman
Van Meter, Sheriff Campbell, S.I. Beck, and A.C.H., had a duty to properly supervise and train
their employees and agents concerning constitutional rights of pretrial detainees such as Mr. Cody.

       150. Chairman Van Meter, Sheriff Campbell, S.I. Beck were the persons vested with
primary authority and responsibility regarding supervision and training of employees and agents
of Sangamon County and Sangamon County Sheriff’s Department.

       151. Defendants Sangamon County, Sangamon County Sheriff’s Department, Chairman
Van Meter, Sheriff Campbell, S.I. Beck, and A.C.H., negligently supervised and trained its staff,
and others, including the other various Defendants.

      152. The acts, conduct and/or omissions of said Defendants were the direct and
proximate result of Mr. Cody’s injuries and death.

       WHEREFORE, the Plaintiff, DANIEL CODY, prays that Judgment is entered in favor of
the Plaintiff and against the Defendants, SANGAMON COUNTY; ANDREW VAN METER,
SANGAMON COUNTY CHAIRMAN; SANGAMON COUNTY SHERIFF’S DEPARTMENT;
JACK CAMPBELL, SHERIFF OF SANGAMON COUNTY; and LARRY BECK, JAIL
SUPERINTENDENT, jointly and severally, for an amount in excess of $50,000,000 in actual
damages, compensatory damages, punitive damages, attorney’s fees and costs, and for any other
and further relief deemed just and proper.




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                                 COUNT XII.
                        ILLINOIS CLAIM – BATTERY
    as to SGT. CODY GRIGSBY, C.O.; KYLE MEYER, C.O.; SCOTT MEYER, C.O.;
     NICHOLAS ORTEGA, C.O.; and OTHER UNKNOWN SANGAMON COUNTY
                         EMPLOYEES, and/or AGENTS

       153. Plaintiff re-alleges and incorporates by reference the allegations set forth in each
preceding paragraph as if fully set forth herein.

       154. As a proximate result of one or more of the foregoing acts or omissions, Defendants
Sgt. Grigsby, C.O. K. Meyer, C.O. S. Meyer, C.O. Ortega, and Other Unknown Defendants
committed a battery upon Mr. Cody by making bodily contact which was intentional, unauthorized,
and grossly offensive in nature.

        155. The acts and conduct of the said Defendants were intentional, reckless, and
unwarranted, without any just cause or provocation, and Defendants knew or should have known
that their actions were without Mr. Cody’s consent.

       156. At all times relevant to this Complaint, said Defendants acted in the course and
scope of their employment with the other various Defendants.

       157. As a direct and proximate result of the foregoing, Mr. Cody was subjected to great
physical and emotional pain and humiliation, was deprived of his liberty and was otherwise
damaged, injured and killed.

       WHEREFORE, the Plaintiff, DANIEL CODY, prays that Judgment is entered in favor of
the Plaintiff and against the Defendants, SGT. CODY GRIGSBY, C.O.; KYLE MEYER, C.O.;
SCOTT MEYER, C.O.; NICHOLAS ORTEGA, C.O.; and OTHER UNKNOWN SANGAMON
COUNTY EMPLOYEES, and/or AGENTS, jointly and severally, for an amount in excess of
$50,000,000 in actual damages, compensatory damages, punitive damages, attorney’s fees and
costs, and for any other and further relief deemed just and proper.




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                              COUNT XIII.
             ILLINOIS CLAIM – INSTITUTIONAL NEGLIGENCE
   as to SANGAMON COUNTY; ANDREW VAN METER, SANGAMON COUNTY
CHAIRMAN; SANGAMON COUNTY SHERIFF’S DEPARTMENT; JACK CAMPBELL,
 SHERIFF OF SANGAMON COUNTY; and LARRY BECK, JAIL SUPERINTENDENT

       158. Plaintiff re-alleges and incorporates by reference the allegations set forth in each
preceding paragraph as if fully set forth herein.

        159. At all times relevant to this Complaint, Sangamon County and Sangamon County
Sheriff’s Department were the primary institutions responsible for the care, custody, and control
of pretrial detainees in the Sangamon County Jail.

        160. At all times relevant to this Complaint, Chairman Van Meter, Sheriff Campbell, and
S.I. Beck, were the persons vested with primary authority and responsibility regarding policies,
practices, customs, and usages of Sangamon County and Sangamon County Sheriff’s Department.

         161. At all times relevant to this Complaint, said Defendants had an independent
institutional duty to supervise and ensure the appropriate and safe use of tasers and control tactics,
hands-on force, and compressional force by their employees and/or agents within the Sangamon
County Jail.

        162. At all times relevant to this Complaint, said Defendants, acting through its
employees and/or agents including the other various Defendants, had policies, practices, customs
and usages of discouraging their employees and/or agents from appropriately and safely using
tasers and control tactics, hands-on force, and compressional force on pretrial detainees in the
Sangamon County Jail.

       163. At all times relevant to this Complaint, said Defendants, acting through its
employees and/or agents including the other various Defendants, had policies, practices, customs
and usages which refused to properly train, monitor, supervise, or ensure staff and/or agents utilize
proper protocol and procedures concerning the use of tasers and control tactics, hands-on force,
and compressional force on pretrial detainees in the Sangamon County Jail.

        164. As a result of the above-described policies, practices, customs, and usages, said
Defendants believed that their actions and/or inaction would not be properly monitored by
supervisory personnel, and that such misconduct would not be investigated or sanctioned, but
rather would be tolerated and encouraged.

        165. The wrongful policies, practices, customs, and usages complained of herein by said
Defendants created an unreasonably safe environment for pretrial detainees within the Sangamon
County Jail and were the direct and proximate cause of the violations of Mr. Cody’s rights as set
forth herein.

       WHEREFORE, the Plaintiff, DANIEL CODY, prays that Judgment is entered in favor of
the Plaintiff and against the Defendants, SANGAMON COUNTY; ANDREW VAN METER,


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SANGAMON COUNTY CHAIRMAN; SANGAMON COUNTY SHERIFF’S DEPARTMENT;
JACK CAMPBELL, SHERIFF OF SANGAMON COUNTY; and LARRY BECK, JAIL
SUPERINTENDENT, jointly and severally, for an amount in excess of $50,000,000 in actual
damages, compensatory damages, punitive damages, attorney’s fees and costs, and for any other
and further relief deemed just and proper.



                              COUNT XIV.
             ILLINOIS CLAIM – INSTITUTIONAL NEGLIGENCE
   as to SANGAMON COUNTY; ANDREW VAN METER, SANGAMON COUNTY
CHAIRMAN; SANGAMON COUNTY SHERIFF’S DEPARTMENT; JACK CAMPBELL,
 SHERIFF OF SANGAMON COUNTY; and LARRY BECK, JAIL SUPERINTENDENT

       166. Plaintiff re-alleges and incorporates by reference the allegations set forth in each
preceding paragraph as if fully set forth herein.

        167. At all times relevant to this Complaint, Sangamon County and Sangamon County
Sheriff’s Department were the primary institutions responsible for the care, custody, and control
of pretrial detainees in the Sangamon County Jail.

        168. At all times relevant to this Complaint, Chairman Van Meter, Sheriff Campbell, and
S.I. Beck were the persons vested with primary authority and responsibility regarding policies,
practices, customs, and usages of Sangamon County and Sangamon County Sheriff’s Department.

         169. At all times relevant to this Complaint, said Defendants had an independent
institutional duty to supervise and ensure that appropriate medical care was provided safely by
their employees and/or agents to pretrial detainees in the Sangamon County Jail

        170. At all times relevant to this Complaint, said Defendants, acting through its
employees and/or agents including the other various Defendants, had policies, practices, customs
and usages of discouraging their employees and/or agents from providing necessary medical care
or treatment to pretrial detainees who are in medical distress while in the custody of the Sangamon
County Jail.

        171. At all times relevant to this Complaint, said Defendants, acting through its
employees and/or agents including the other various Defendants, had policies, practices, customs
and usages which refused to properly train, monitor, supervise, or ensure staff and/or agents utilize
proper protocol and procedures concerning pretrial detainees who are in medical distress while in
the custody of the Sangamon County Jail.

      172. As a result of the above-described policies, practices, customs, and usages, said
Defendants believed that their actions and/or inaction would not be properly monitored by




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supervisory personnel, and that such misconduct would not be investigated or sanctioned, but
rather would be tolerated and encouraged.

        173. The wrongful policies, practices, customs, and usages complained of herein by said
Defendants created an unreasonably safe environment for pretrial detainees within the Sangamon
County Jail and were the direct and proximate cause of the violations of Mr. Cody’s rights as set
forth herein.

       WHEREFORE, the Plaintiff, DANIEL CODY, prays that Judgment is entered in favor of
the Plaintiff and against the Defendants, SANGAMON COUNTY; ANDREW VAN METER,
SANGAMON COUNTY CHAIRMAN; SANGAMON COUNTY SHERIFF’S DEPARTMENT;
JACK CAMPBELL, SHERIFF OF SANGAMON COUNTY; and LARRY BECK, JAIL
SUPERINTENDENT, jointly and severally, for an amount in excess of $50,000,000 in actual
damages, compensatory damages, punitive damages, attorney’s fees and costs, and for any other
and further relief deemed just and proper.



                             COUNT XV.
                 ILLINOIS CLAIM – WRONGFUL DEATH
   as to SANGAMON COUNTY; ANDREW VAN METER, SANGAMON COUNTY
CHAIRMAN; SANGAMON COUNTY SHERIFF’S DEPARTMENT; JACK CAMPBELL,
SHERIFF OF SANGAMON COUNTY; LARRY BECK, JAIL SUPERINTENDENT; SGT.
  CODY GRIGSBY, C.O.; KYLE MEYER, C.O.; SCOTT MEYER, C.O.; NICHOLAS
 ORTEGA, C.O.; ADVANCED CORRECTIONAL HEALTHCARE; JOHN B. KLING,
LPN; and OTHER UNKNOWN SANGAMON COUNTY EMPLOYEES and/or AGENTS

       174. Plaintiff re-alleges and incorporates by reference the allegations set forth in each
preceding paragraph as if fully set forth herein.

       175. At all times relevant to this Complaint, Defendants Sangamon County, Sangamon
County Sheriff’s Department, and A.C.H. maintained a contractual relationship for the provision
of medical services to pretrial detainees in the Sangamon County Jail.

       176. Each of the said Defendants, either individually and/or through their employees
and/or agents, breached the appropriate standards of care and were negligent in causing the death
of Mr. Cody.

       177. As a proximate result of one or more of the foregoing acts or omissions, Mr. Cody
sustained injuries which resulted in his death on April 27 and April 28, 2021.

        178.    Mr. Cody left two surviving children who have suffered pecuniary loss because of
his death.



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       179. DANIEL CODY is the Court-appointed Administrator of the Estate of JAIMESON
CODY and as such brings this cause of action on behalf of the Estate of JAIMESON CODY
pursuant to Chapter 70, Sections 1 and 2 of the Illinois Revised Statutes, commonly known as the
Wrongful Death Act of the State of Illinois.

       WHEREFORE, the Plaintiff, DANIEL CODY, prays that Judgment is entered in favor of
the Plaintiff and against the Defendants, SANGAMON COUNTY; ANDREW VAN METER,
SANGAMON COUNTY CHAIRMAN; SANGAMON COUNTY SHERIFF’S DEPARTMENT;
JACK CAMPBELL, SHERIFF OF SANGAMON COUNTY; LARRY BECK, JAIL
SUPERINTENDENT; SGT. CODY GRIGSBY, C.O.; KYLE MEYER, C.O.; SCOTT MEYER,
C.O.; NICHOLAS ORTEGA, C.O.; ADVANCED CORRECTIONAL HEALTHCARE; JOHN B.
KLING, LPN; and OTHER UNKNOWN SANGAMON COUNTY EMPLOYEES and/or
AGENTS, jointly and severally, for an amount in excess of $50,000,000 in actual damages,
compensatory damages, attorney’s fees and costs, and for any other and further relief deemed just
and proper.




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                   JURY DEMAND

PLAINTIFF DEMANDS TRIAL BY JURY AS TO ALL COUNTS

                        DANIEL CODY, as Administrator of the Estate of
                        JAIMESON CODY, deceased, and as next-of-kin,
                        Plaintiff,

                        By: /s/ Sharon D. Elvidge Kelley
                        Sharon D. Elvidge Kelley ARDC No. 6193792
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                        By: /s/ Andrew M. Wessler
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